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UNITED STATES DISTRICT COURT                                          DOC #:
SOUTHERN DISTRICT OF NEW YORK                                         DATE FILED: 11/09/2022
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 NIKE, INC.,                                                    :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           : 22-CV-0983 (VEC)
                                                                :
                                                                :     ORDER
 STOCKX LLC,                                                    :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS a conference in this matter is currently scheduled for Wednesday, November

9, 2022, at 2:00 P.M.; and

       WHEREAS this time is no longer convenient for the Court.

       IT IS HEREBY ORDERED that the conference in this matter is rescheduled for

Thursday, November 10, 2022, at 11:00 A.M. in Courtroom 443 of the Thurgood Marshall

Courthouse, 40 Foley Square, New York, New York, 10007.



SO ORDERED.
                                                     ________________________
Date: November 9, 2022                                  VALERIE CAPRONI
      New York, New York                              United States District Judge
